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6                                 UNITED STATES DISTRICT COURT
7                                      DISTRICT OF NEVADA
8                                                ***
9     OMAR ROBLES,                                        Case No. 2:18-cv-02071-APG-DJA
10                                       Plaintiff,                     ORDER
             v.
11
      BRIAN WILLIAMS, et al.,
12

13                                    Defendants.
14

15          This action began with a pro se civil rights complaint filed pursuant to 42 U.S.C. §

16   1983 by a person in the custody of the Nevada Department of Corrections. Plaintiff has

17   submitted an application to proceed in forma pauperis. (ECF No. 5). Based on the

18   financial information provided, the Court finds that Plaintiff is unable to prepay the full

19   filing fee in this matter.

20          The Court imposed a stay and entered subsequent orders in which the parties

21   were assigned to mediation by a court-appointed mediator. (ECF No. 43, 40, 53, 53).

22   The Office of the Attorney General has filed a status report indicating that settlement has

23   not been reached and informing the Court of its intent to proceed with this action. (ECF

24   No. 55).

25          For the foregoing reasons, IT IS ORDERED that:

26          1.      Plaintiff’s application to proceed in forma pauperis (ECF No. 5) is

27   GRANTED. Plaintiff shall not be required to pay an initial installment of the filing fee. In

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1    the event that this action is dismissed, the full filing fee must still be paid pursuant to 28

2    U.S.C. § 1915(b)(2).

3           2.     The movant herein is permitted to maintain this action to conclusion without

4    the necessity of prepayment of any additional fees or costs or the giving of security

5    therefor. This order granting leave to proceed in forma pauperis shall not extend to the

6    issuance and/or service of subpoenas at government expense.

7           3.     Pursuant to 28 U.S.C. § 1915(b)(2), the Nevada Department of Corrections

8    shall pay to the Clerk of the United States District Court, District of Nevada, 20% of the

9    preceding month’s deposits to Plaintiff’s account (Omar Robles, # 2:18-cv-02071-APG-

10   DJA), in the months that the account exceeds $10.00, until the full $350.00 filing fee has

11   been paid for this action. The Clerk of the Court shall SEND a copy of this order to the

12   Finance Division of the Clerk’s Office. The Clerk of the Court shall also SEND a copy of

13   this order to the attention of the Chief of Inmate Services for the Nevada Department of

14   Corrections, P.O. Box 7011, Carson City, NV 89702.

15          4.     The Clerk of the Court shall electronically SERVE a copy of this order and

16   a copy of Plaintiff’s complaint (ECF No. 1-1) on the Office of the Attorney General of the

17   State of Nevada by adding the Attorney General of the State of Nevada to the docket

18   sheet. This does not indicate acceptance of service.

19          5.     Service must be perfected within ninety (90) days from the date of this order

20   pursuant to Fed. R. Civ. P. 4(m).

21          6.     Subject to the findings of the screening order (ECF No. 43), within twenty-

22   one (21) days of the date of entry of this order, the Attorney General’s Office shall file a

23   notice advising the Court and Plaintiff of: (a) the names of the defendants for whom it

24   accepts service; (b) the names of the defendants for whom it does not accept service,

25   and (c) the names of the defendants for whom it is filing the last-known-address

26   information under seal. As to any of the named defendants for whom the Attorney

27   General’s Office cannot accept service, the Office shall file, under seal, but shall not serve

28   the inmate Plaintiff the last known address(es) of those defendant(s) for whom it has such

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1    information. If the last known address of the defendant(s) is a post office box, the Attorney

2    General's Office shall attempt to obtain and provide the last known physical address(es).

3           7.     If service cannot be accepted for any of the named defendant(s), Plaintiff

4    shall file a motion identifying the unserved defendant(s), requesting issuance of a

5    summons, and specifying a full name and address for the defendant(s).               For the

6    defendant(s) as to which the Attorney General has not provided last-known-address

7    information, Plaintiff shall provide the full name and address for the defendant(s).

8           8.     If the Attorney General accepts service of process for any named

9    defendant(s), such defendant(s) shall file and serve an answer or other response to the

10   complaint within sixty (60) days from the date of this order.

11          9.     Henceforth, Plaintiff shall serve upon defendant(s) or, if an appearance has

12   been entered by counsel, upon their attorney(s), a copy of every pleading, motion or other

13   document submitted for consideration by the Court. Plaintiff shall include with the original

14   document submitted for filing a certificate stating the date that a true and correct copy of

15   the document was mailed or electronically filed to the defendants or counsel for the

16   defendants. If counsel has entered a notice of appearance, Plaintiff shall direct service

17   to the individual attorney named in the notice of appearance, at the physical or electronic

18   address stated therein. The Court may disregard any document received by a district

19   judge or magistrate judge which has not been filed with the Clerk, and any document

20   received by a district judge, magistrate judge, or the Clerk which fails to include a

21   certificate showing proper service.

22          10.    This case is no longer stayed.

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            DATED THIS 26th day of October 2020.
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                                               UNITED STATES MAGISTRATE JUDGE
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